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                 In the United States Court of Federal Claims
                                    OFFICE OF SPECIAL MASTERS
                                         Filed: October 19, 2020

* * * * *              *   *    *   *    *    *   *    *
SARAH HUFF,                                            *                 UNPUBLISHED
                                                       *
                  Petitioner,                          *                 No. 18-1533V
                                                       *
v.                                                     *                 Special Master Gowen
                                                       *
SECRETARY OF HEALTH                                    *                 Order Concluding Proceedings;
AND HUMAN SERVICES,                                    *                 Vaccine Rule 21(a).
                                                       *
                  Respondent.                          *
*    * *     *    * * * *           *    *    *   *    *

Bonita M. Riggens, Law Office of Bonita M. Riggens, St. Petersburg, FL, for petitioner.
Christine M. Becer, United States Department of Justice, Washington, DC, for respondent.

                               ORDER CONCLUDING PROCEEDINGS1

       On October 16, 2020, petitioner filed her notice of voluntary dismissal of the above-
captioned matter in accordance with Vaccine Rule 21(a)(1)(A). ECF No. 42.

        Accordingly, pursuant to Vaccine Rule 21(a), the above-captioned matter is dismissed
without prejudice. The Clerk of Court is hereby instructed that judgment shall not enter in
the instant case pursuant to Vaccine Rule 21(a).

         IT IS SO ORDERED.
                                                                         s/Thomas L. Gowen
                                                                         Thomas L. Gowen
                                                                         Special Master




1
  Pursuant to the E-Government Act of 2002, see 44 U.S.C. § 3501 note (2012), because this opinion contains a
reasoned explanation for the action in this case, I am required to post it on the website of the United States Court of
Federal Claims. The court’s website is at http://www.uscfc.uscourts.gov/aggregator/sources/7. This means the
opinion will be available to anyone with access to the Internet. Before the opinion is posted on the court’s
website, each party has 14 days to file a motion requesting redaction “of any information furnished by that party:
(1) that is a trade secret or commercial or financial in substance and is privileged or confidential; or (2) that
includes medical files or similar files, the disclosure of which would constitute a clearly unwarranted invasion of
privacy.” Vaccine Rule 18(b). “An objecting party must provide the court with a proposed redacted version of the
decision.” Id. If neither party files a motion for redaction within 14 days, the opinion will be posted on the
court’s website without any changes. Id.
